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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

                                  11       O'SHEA JACKSON,                                    Case No. 21-cv-02304-LB
                                  12                     Plaintiff,
Northern District of California
 United States District Court




                                                                                              ORDER GRANTING DEFENDANTS'
                                  13              v.                                          MOTION TO DISMISS FIRST
                                                                                              AMENDED COMPLAINT
                                  14       ROBINHOOD MARKETS, INC., A
                                           DELAWARE CORPORATION, et al.,                      Re: ECF No. 31
                                  15
                                                         Defendants.
                                  16

                                  17                                            INTRODUCTION

                                  18        The plaintiff O’Shea Jackson, known professionally as Ice Cube, sued Robinhood, a financial-

                                  19   services company, after Robinhood used his image and a paraphrase of a line from his song, “Check

                                  20   Yo Self.” The graphic and caption illustrate Robinhood’s online article describing a market

                                  21   correction for tech stocks. The original line from Ice Cube’s song is “Check yo self before you wreck

                                  22   yo self,” which Robinhood paraphrased as “Correct yourself before you wreck yourself.” “Check yo

                                  23   self” is also Ice Cube’s catchphrase. He claims that by using his image and catchphrase, Robinhood

                                  24   created the false and deceptive commercial impression that Ice Cube endorses Robinhood’s services

                                  25   and violated the Lanham Act. 15 U.S.C. § 1125(a)(1)(A).1 The court previously dismissed the case

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                                         First Am. Compl. (FAC) – ECF No. 30. Knievel v. ESPN, 393 F.3d 1068, 1076–77 (9th Cir. 2005)
                                       (incorporation-by-reference doctrine allows citation to song). Citations refer to material in the Electronic
                                  28   Case File (ECF); pinpoint citations are to the ECF-generated page numbers at the top of documents.

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                                   1   for lack of standing because the plaintiff did not plausibly plead that Robinhood’s use of Ice Cube’s

                                   2   identity suggested his endorsement of Robinhood’s products. The amended complaint does not cure

                                   3   the previous complaint’s deficiencies. The court thus grants Robinhood’s motion to dismiss.

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                                   5                                             STATEMENT

                                   6       The previous dismissal order summarized the allegations about the alleged endorsement. In

                                   7   short, Robinhood is a financial-services company that allows commission-free trades of stocks and

                                   8   exchange-traded funds on a mobile app. Ice Cube is a well-known rapper, actor, entrepreneur, and

                                   9   social activist. Robinhood has a website called Robinhood Snacks, where it publishes newsletters on

                                  10   financial issues. To illustrate a newsletter on a market correction of tech stocks, Robinhood used a

                                  11   picture from Ice Cube’s movie Are We Done Yet? and a caption that paraphrased Ice Cube’s

                                  12   catchphrase.2
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                                                                 Correct yourself, before you wreck yourself
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                                        Order – ECF No. 29 at 2–4 (describing the newsletter, including its breezy tone and other content:
                                       articles, the daily Snacks podcast, and links to categories titled Check, Learn, Sweat, Do, Act, and
                                  28   Achieve). This order incorporates the previous order’s summary and legal analysis by this reference.

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                                   1         The amended complaint cites congressional testimony and SEC filings to illustrate that

                                   2   Robinhood Snacks is a commercial product that entices new users to sign up for the app and offers

                                   3   digestible educational content that also satisfies certain financial regulatory requirements.3 It adds

                                   4   allegations about its demographics and the appeal of celebrities like Ice Cube (and its celebrity

                                   5   endorsers Jay-Z, Nas, and Snoop Dog) to support the point that using Ice Cube’s picture and phrase

                                   6   created consumer confusion and suggested Ice Cube’s endorsement of its products.4

                                   7         All parties consented to magistrate jurisdiction under 28 U.S.C. § 636.5 The court has federal-

                                   8   question jurisdiction over the Lanham Act claim. 28 U.S.C. §§ 1331, 1338. The court held a hearing

                                   9   on September 9, 2021.

                                  10                                                     ANALYSIS

                                  11         The amended complaint falls for the same defect found in the original: it does not sufficiently

                                  12   plead an injury in fact because Robinhood’s use of Ice Cube’s image and phrase does not suggest
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                                  13   Ice Cube’s endorsement of Robinhood’s product.

                                  14         Ice Cube is a celebrity. If the unauthorized use of his image suggested his endorsement of

                                  15   Robinhood, then he would suffer injury in fact. But the image and phrase are not an endorsement:

                                  16   they illustrate a point in the newsletter about a market correction in tech stocks.6 No case finds

                                  17   endorsement on similar facts. Instead, the case law requires more than alleged unauthorized use to

                                  18   plead implied endorsement. Examples of well-plead endorsement include imitating Tom Waits’s

                                  19   distinctive voice to sell Doritos and using a robot Vanna White to sell VCRs. Waits v. Frito-Lay,

                                  20   Inc., 978 F.2d 1093, 1110 (9th Cir. 1992) (“a celebrity whose endorsement of a product is implied

                                  21   through the imitation of a distinctive attribute of the celebrity’s identity [the imitation of Tom

                                  22   Waits’s distinctive voice in a Doritos radio commercial] has standing to sue for false endorsement

                                  23   under section 43(a) of the Lanham Act”); White v. Samsung Elec. Am., Inc., 971 F.2d 1395, 1398–

                                  24   99 (9th Cir. 1992) (finding the depiction of a robot modeled after and dressed as Vanna White and

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                                  26       FAC – ECF No. 30 at 5–9 (¶¶ 25–32).
                                       4
                                           Id. at 4 (¶ 3), 7 (¶ 30), 10–12 (¶¶ 37–42).
                                  27   5
                                           Consents – ECF Nos. 8 & 15.
                                  28   6
                                           Order – ECF No. 29 at 7–8.

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                                   1   posed next to the product was proof of implied endorsement sufficient to raise a triable issue of

                                   2   fact);; see also Estate of Fuller v. Maxfield & Oberton Holdings, LLC, 906 F. Supp. 2d 997, 1002

                                   3   (N.D. Cal. 2012) (denying the motion to dismiss as the defendant’s alleged use of the inventor’s

                                   4   name to promote a desk toy modeled after the inventor’s discovery implied endorsement); Monk v.

                                   5   N. Coast Brewing Co. Inc., No. 17-cv-05015-HSG, 2018 WL 646679, at *1, 3 (N.D. Cal. Jan. 31,

                                   6   2018) (consistent use of Thelonious Monk’s name image, and likeness on the beer bottles and

                                   7   packaging plausibly plead implied endorsement).

                                   8      The new allegations do not add facts that create any likelihood of consumer confusion. For the

                                   9   reasons in the court’s earlier order, the court dismisses the complaint for lack of Article III standing.

                                  10   Because the court gave leave to amend previously, and the plaintiff did not cure the complaint’s

                                  11   deficiencies, the dismissal is with prejudice.

                                  12      This disposes of ECF No. 31.
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                                  13      IT IS SO ORDERED.

                                  14      Dated: September 20, 2021

                                  15                                                     ______________________________________
                                                                                         LAUREL BEELER
                                  16                                                     United States Magistrate Judge
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